                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CASE NO.

                                                  )
                                                  )
                           Plaintiff(s),          )
 v.                                               )
                                                  )
                                                  )
                                                  )
                           Defendant(s).          )

                   DISCLOSURE BY NON-GOVERNMENTAL CORPORATE PARTY
                          OR PROPOSED INTERVENOR OF CORPORATE
                        AFFILIATIONS AND OTHER ENTITIES WITH A DIRECT
                               FINANCIAL INTEREST IN LITIGATION

This disclosure must be filed on behalf of each nongovernmental corporate entity that is a
party or proposed intervenor to the action. Counsel has a continuing duty to update this
information. An executed form should be electronically filed. The disclosing party must
serve this form on the other parties to this action.


                                              who is
 (Name of Party)                                       (Plaintiff / Defendant/Movant/Intervenor)
 makes the following disclosure:

      1. Is the party a publicly held corporation or other publicly-held entity?
                 Yes                   No


      2. Does the party have any parent corporations?
               Yes                 No

          If yes, identify all parent corporations, including grandparent and great-
          grandparent corporations:



      3. Is 10% or more of the stock of a party owned by a publicly-held corporation or
         other publicly-held entity?
                Yes                  No

          If yes, identify all such owners:




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    4. Is there any other publicly-held corporation or other publicly-held entity that has a
       direct financial interest in the outcome of the litigation?
                      Yes                   No

        If yes, identify the entity and the nature of its interest:


   5.    Is the party a trade association?
                      Yes                  No

         If yes, identify all members of the association, their parent corporations, and any
         publicly held companies that own 10% or more of a member’s stock:


   6.    If the case arises out of a bankruptcy proceeding, identify any trustee and the
         members of any creditors’ committee:




        s/
        Signature of Attorney                                Date




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